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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,

        v.                                                     23-CR-99-LJV

SIMON GOGOLACK, et al,                                 RESPONSE TO GOVERNEMNT’S
                                                       LETTER REGARDING SANCTIONS

                  Defendants.
______________________________________________



        The government now concedes, over one year after charging Simon Gogolack with a

placeholder complaint, that five-months of speedy trial time should count against it in a future

hypothetical constitutional Speedy Trial claim. Essentially, the government concedes that these

five-months of delay are attributable to it under the “length-of-delay” Barker factor.

        Whether it is this court or an appellate court, or both, whichever body decides this future

hypothetical motion, should one be filed, will have to decide whether certain periods of delay

were neutral, or attributable to one side or the other. That is an analysis that will invariably

consider the government’s actions in withholding discovery, violating a court order, and insisting

on an untenable protective order. So considered, there is little room to doubt that this

hypothetical court deciding this hypothetical motion will decide that the time should be

attributable to the government. The government’s proposal takes a natural consequence of its

action and calls it a sanction.

        Judge McCarthy recognized this. It why he did not limit his order to simply charging

Speedy Trial time against the government, but added two further sanctions.
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          Next, the government again to cites Bove for the proposition that it did not act in bad

faith. Bove is a short opinion about whether a defendant should be awarded attorney’s fees from

the government under the Hyde Amendment. The Bove court there did not set out to define the

precise contours of bad faith in all future cases and in all contexts. The Bove court, in fact,

explicitly said as much, noting that it was merely “sketch[ing] out a provisional construction of

the phrase ‘vexatious, frivolous, or in bad faith’” and that it “need not parse the precise meaning

of the words.” 888 F.3d 606, 609, n.11 (2d Cir. 2018). Grasping for a way to argue that Judge

McCarthy committed clear error, the government hangs more on this case than it can bear.

          It was Judge McCarthy who correctly pointed out that “[b]ad faith is not a concept that

lends itself to precise definition.” Order, Dkt. No. 200 (citing In re Syndicom Corp., 268 B.R. 26,

49 (Bk. S.D.N.Y. 2001)). In short, this Court cannot rely on Bove, or any other case, to find that

Judge McCarthy committed clear error. He did not.

          It was also Judge McCarthy who witnessed the government’s repeated attempts to keep

discovery out of the defendant’s hands, and he whose orders the government treated as

suggestions. See Dkt. No. 80 (“My February 15 Text Order 61 granted Gogolack's motion to

reopen the detention hearing and directed the government to "produce to defendant all evidence

that it intends to rely upon at the detention hearing". That Text Order was not appealed. Having

reviewed the parties' submissions [77, 78], I question whether the government has complied

with my Text Order, since any proffer necessarily relies on underlying evidence.”) (emphasis

added).




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       Judge McCarthy had had enough. And he found that the government was not forthright in

its interaction with the Court. This finding is due deference under the standard applicable to the

government’s motion.

        Finally, the apologetic stance that government now takes – post sanctions – was not

present in the immediate aftermath of its failures. Rather, at that time, the defense was blamed

for its failure to produce a thumb drive in time, and was threatened with a motion to

“scrupulously honor” our own client’s right to a speedy trial if we deigned to object to speedy

trial time exclusions. It expressed none of its current humility in the time before Judge McCarthy

imposed the sanctions. To undo that sanction now would be to empower it to further ignore its

discovery obligations and orders of the court. 1

       This Court should uphold Judge McCarthy’s decision under the clear error standard. In

the alternative, it should hold a hearing to address the claims made by the government as to its

claimed good faith attempts to comply with Judge McCarthy’s orders.



       DATED:          Buffalo, New York, November 1, 2024


                                              Respectfully submitted,

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         As this Court is aware, issues with timely disclosure and ethical obligations continue to
rise in connection with this case and the related case against Mr. Gerace. Just this week, a late
disclosure was made about a witness that counsel for the government had previously represented.
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